                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF WISCONSIN

WILLIE JAMES NEWMAN                                    )
                                                       )
               Plaintiff,                              )
                                                       )
vs.                                                    )       COMPLAINT
                                                       )
MICHAEL VAGNINI,                                       )       Case No. ____________________
JACOB KNIGHT,                                          )
JEFFREY CLINE                                          )
JEFFREY DOLLHOPF,                                      )
BRIAN KOZELEK,                                         )
PAUL MARTINEZ,                                         )
EDWARD A. FLYNN and                                    )
CITY OF MILWAUKEE,                                     )
                                                       )
               Defendants,                             )

       Now comes the plaintiff, Willie James Newman, by his attorney, Ronald Bornstein of

Bornstein Law Offices, S.C., and as and for this complaint against the defendants, alleges and

shows to the Court as follows:

                              I.     JURISDICTION AND VENUE

       1.      This action is brought pursuant to 42 U.S.C. § 1983 to redress the deprivation

under color of law of the plaintiff’s rights guaranteed by the Constitution of the United States.

       2.      This court has jurisdiction over federal claims pursuant to 28 U.S.C. § 1331 and

state law claims pursuant to 28 U.S.C § 1367.

       3.      Venue is proper pursuant to 28 U.S.C. § 1391(b).              The defendant, City of

Milwaukee, is a municipal corporation located within this judicial district. Additionally, the

events giving rise to the claims set forth herein occurred within this judicial district.

                            II.     PRELIMINARY ALLEGATIONS

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       4.      The plaintiff, WILLIE JAMES NEWMAN (“Newman”), is an adult resident of

the City and County of Milwaukee, State of Wisconsin, residing at 3225A North 13th Street,

Milwaukee, WI 53206.

       5.      The defendant, MICHAEL VAGNINI (“Vagnini”), is an adult resident of the City

and County of Milwaukee, State of Wisconsin, whose address is presently unknown; who, at all

times material hereto, was employed as a police officer with the defendant, City of Milwaukee;

and was acting under color of law and within the scope of his employment. Furthermore, said

defendant is being sued in his individual capacity.

       6.      The defendant, JACOB KNIGHT (“Knight’), is an adult resident of the City and

County of Milwaukee, State of Wisconsin, whose last known address, upon information and

belief, was 3702 North 77th Street, Milwaukee, WI 53222; who, at all times material hereto, was

employed as a police officer with the defendant, City of Milwaukee; and was acting under color

of law and within the scope of his employment. Furthermore, said defendant is being sued in his

individual capacity.

       7.      The defendant, JEFFREY CLINE (“Cline”), is an adult resident of the City and

County of Milwaukee, State of Wisconsin, whose last known business address, upon information

and belief, was 749 West State Street, Milwaukee, WI 53233; who, at all times material hereto,

was employed as a police officer with the defendant, City of Milwaukee; and was acting under

color of law and within the scope of his employment. Furthermore, said defendant is being sued

in his individual capacity.

       8.      The defendant, JEFFREY DOLLHOPF (“Dollhopf”), is an adult resident of the

City and County of Milwaukee, State of Wisconsin, whose last known address, upon information


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and belief, was 9127 West Mount Vernon Avenue, Milwaukee, WI 53226; who, at all times

material hereto, was employed as a police officer with the defendant, City of Milwaukee; and

was acting under color of law and within the scope of his employment. Furthermore, said

defendant is being sued in his individual capacity.

        9.      The defendant, BRIAN KOZELEK (“Kozelek”), is an adult resident of the City

and County of Milwaukee, State of Wisconsin, whose last known address, upon information and

belief, was 3421 South 84th Street, Milwaukee, WI 53227; who, at all times material hereto, was

employed as a police officer with the defendant, City of Milwaukee; and was acting under color

of law and within the scope of his employment. Furthermore, said defendant is being sued in his

individual capacity.

        10.     The defendant, PAUL MARTINEZ (“Martinez”), is an adult resident of the City

and County of Milwaukee, State of Wisconsin, whose last known business address, upon

information and belief, was 749 West State Street, Milwaukee, WI 53233; who, at all times

material hereto, was employed as a police officer with the defendant, City of Milwaukee; and

was acting under color of law and within the scope of his employment. Furthermore, said

defendant is being sued in his individual capacity.

        11.     The defendant, EDWARD A. FLYNN (“Flynn”), is an adult resident of the City

and County of Milwaukee, State of Wisconsin, and whose last known business address is 749

West State Street, Milwaukee, WI 53233; who, at all times material hereto, was employed as the

Chief of Police of the defendant, City of Milwaukee. Furthermore, said defendant is being sued

in his official capacity.

        12.     The defendant, CITY OF MILWAUKEE, is a municipal corporation organized

and existing under the laws of the State of Wisconsin, with a principle address of 200 East Wells
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Street, Milwaukee, WI 53202; that, at all times material hereto, was the employer of the

defendants, VAGNINI, KNIGHT, CLINE, DOLLHOPF, KOZELEK, MARTINEZ and/or

FLYNN, and pursuant to Wis. Stats. § 895.46 et seq., is obligated to pay any judgment for

damages entered against any or all of said officers who are determined to be acting within the

scope of their employment as City of Milwaukee police officers.

                             III.    FACTUAL ALLEGATIONS

       13.     On April 30, 2010, at approximately 1:18 a.m., Mr. Newman, an African

American male, DOB: 8/1/77, was seated in his parked 2004 Chevrolet Impala in the parking lot

of Haji’s Red Hots at 2100 West Hopkins Street in the City and County of Milwaukee, State of

Wisconsin.

       14.     That at said time, date place and location, the defendants, Vagnini, Knight, Cline,

Dollhopf, Kozelek and Martinez, entered the parking lot of Haji’s Red Hots and exited their

vehicles.

       15.     After exiting their vehicles, defendants, Vagnini, Cline, Martinez and/or Knight

and/or Dollhopf, approached Mr. Newman’s parked vehicle.

       16.     That at said time, date place and location, the defendant, Vagnini, drew his

firearm and ordered Mr. Newman to hold his hands up and the defendants, Cline and Martinez,

ordered Mr. Newman to exit his vehicle.

       17.     After Mr. Newman was out of his vehicle, the defendants, Cline and Martinez,

grabbed his arms and the defendant, Vagnini, placed him into handcuffs.

       18.     After the defendant, Vagnini, placed Mr. Newman in handcuffs, the defendant,

Vagnini, in the presence of the defendants, Cline, Martinez, Dollhopf and/or Knight and/or

Kozelek, and while in the parking lot of Haji’s Red Hots, unbuckled Mr. Newman’s belt; pulled
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down Mr. Newman’s pants and underwear just above his knees; in the process exposing Mr.

Newman’s genitalia to said police officers and other onlookers in the parking lot.

       19.     After exposing Mr. Newman’s genitalia in said manner, and under said

circumstances, the defendant, Vagnini, used his bare hands to search under Mr. Newman’s

scrotum and recovered a plastic bag containing marijuana.

       20.     As a result thereof, Mr. Newman was charged with possession of a controlled

substance with intent to deliver, cocaine and possession of a controlled substance, THC.

       21.     With respect to his search of Mr. Newman’s genitalia, the defendant, Vagnini, or

the other defendants, at all times material hereto, were not healthcare professionals and

furthermore, the defendant, Vagnini, conducted this invasive and unreasonable search of Mr.

Newman’s person in an unsafe and intentionally humiliating fashion.

       22.     At no time did Mr. Newman consent to any search of his person, property or

vehicle and, in fact, was helpless to resist the defendant, Vagnini’s conduct, given the latter’s

status as a City of Milwaukee Police Officer.

       23.     At all times material hereto, the defendant, Officers Knight, Cline, Martinez,

Kozelek and Dollhopf, took no action to intervene and stop then Officer Vagnini’s

unconstitutional conduct with respect to Mr. Newman, even though they had the duty, ability and

opportunity to do so.

       24.     On October 9, 2012, a criminal complaint was filed in the Circuit Court of

Milwaukee County against then Officer Jacob Knight, charging him with, among other things,

conducting an illegal strip/body cavity search of another African American male, Circuit Court

of Milwaukee County Case No. 12-CF-4987.

       25.     On October 8, 2013, a judgment of conviction was entered against then Officer
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Knight based upon his plea of no contest to one misdemeanor count of conducting an illegal

body cavity search contrary to Wis. Stats. § 968.255(3).

       26.     On October 9, 2012, a criminal complaint was filed in the Circuit Court of

Milwaukee County charging then Officer Vagnini with four counts of misconduct in

office/acting in excess of his authority contrary to Wis. Stats. § 946.12(2); three counts of

performing an illegal strip search contrary to Wis. Stats. § 968.255(2); and one count of illegal

body cavity search contrary to Wis. Stats. § 968.255(3); said charges occurring with respect to

other African American males in the City of Milwaukee, Circuit Court of Milwaukee County

Case No. 12-CF-4984.

       27.     On June 21, 2013, a judgment of conviction was entered against then Officer

Vagnini upon his plea of no contest to the above charges.

       28.     On October 9, 2012, a criminal complaint was filed in the Circuit Court of

Milwaukee County against then Officer Jeffrey Dollhopf, Circuit Court of Milwaukee County

Case No. 12-CF-4985.

       29.     On December 10, 2013, a judgment of conviction was entered against then

Officer Dollhopf based upon his plea of no contest to one misdemeanor count of disorderly

conduct – party to a crime, contrary to Wis. Stat. § 947.01 and § 939.50.

       30.     On October 9, 2012, a criminal complaint was filed in the Circuit Court of

Milwaukee County against then Officer Brian Kozelek, Circuit Court of Milwaukee County Case

No. 12-CF-4986.

       31.     On December 10, 2013, a judgment of conviction was entered against then

Officer Kozelek based upon his plea of no contest to one misdemeanor count of disorderly

conduct – party to a crime, contrary to Wis. Stat. § 947.01 and § 939.50.
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       32.    As a direct and proximate result of the actions of the defendants, Vagnini, Knight,

Cline, Dollhopf, Kozelek and/or Martinez, as detailed above, Mr. Newman suffered and

continues to suffer bodily injury, pain, suffering, extreme emotional distress, anguish,

humiliation, shame and fear.

       33.    Furthermore, that the acts of then Officers Vagnini, Knight, Cline, Dollhopf,

Kozelek and/or Martinez, as previously alleged herein, were willful, wanton, malicious and/or in

intentional disregard of the rights of Mr. Newman.

                         IV. COUNT ONE – 42 U.S.C. § 1983
                       UNREASONABLE SEARCH AND SEIZURE

       34.    Mr. Newman repeats and realleges all prior paragraphs herein and incorporates

them by reference under this paragraph.

       35.    That the actions of the defendants, Vagnini, Knight, Cline, Dollhopf, Kozelek and

Martinez, in illegally and unlawfully searching and physically abusing Mr. Newman with respect

to the search of his person violated Mr. Newman’s Fourth Amendment right to be free from

unreasonable searches and seizures and caused him injuries and damages as set forth herein.

                          V.     COUNT TWO – 42 U.S.C. § 1983
                                FAILURE TO INTERVENE

       36.    Mr. Newman repeats and realleges all prior paragraphs herein and incorporates

them by reference under this paragraph.

       37.    That as previously alleged herein, Officers Knight, Cline, Dollhopf, Kozelek and

Martinez had the opportunity, duty and ability to intervene on behalf of Mr. Newman at the time

of then Officer Vagnini’s illegal/unreasonable search of Mr. Newman but failed to do so and as a

direct and proximate result of said conduct, were a cause of the injuries and damages sustained


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by Mr. Newman as set forth herein.

                            VI.   COUNT THREE – 42 U.S.C. § 1983
                                   MUNICIPAL LIABILITY

       38.     Mr. Newman repeats and realleges all prior paragraphs herein and incorporates

them by reference under this paragraph.

       39.     That prior to April 30, 2010, the defendant, City of Milwaukee, through its Chief

of Police, the defendant, Edward Flynn, and/or other supervisory members of said department,

knew, based upon multiple complaints by several other African American residents of the city

that the defendant, then Officer Vagnini, while acting within the course and scope of his

employment with the City of Milwaukee Police Department and under color of law, used his

status as a police officer to conduct illegal strip/body cavity searches of African American males

without probable cause and/or a reasonable basis to do so.

       40.     That despite said knowledge, the defendant, City of Milwaukee, through its Chief

of Police, the defendant, Edward Flynn, and/or other supervisory members of said department,

failed to take those steps necessary to provide adequate supervision and/or training to then

Officer Vagnini and/or other officers similarly situated or, in lieu thereof, failed to take all steps

reasonably necessary under the circumstances to protect African American male residents of the

City of Milwaukee from the defendant then Officer Vagnini’s improper, illegal and

unconstitutional conduct.

       41.     That the defendant, City of Milwaukee, and/or Chief Flynn’s failure to stop the

defendant then Officer Vagnini’s pattern of unconstitutional behavior, despite having repeated

multiple complaints of said unconstitutional behavior by other African American males in the

city, amounted to a deliberate indifference on the part of the City through its Police Department

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and its Police Chief to the constitutional rights of Mr. Newman and other similarly situated

African American males in the city.

        42.     That the deliberate indifference of the defendant, City of Milwaukee, through its

Chief of Police, the defendant, Edward Flynn, and/or other supervisory members of said

department, to the constitutional rights of African American male residents of the city following

said repeated, multiple complaints regarding then Officer Vagnini’s conduct prior to April 30,

2010 directly and proximately caused Mr. Newman, with respect to the aforesaid allegations, to

sustain pain, suffering, disability, embarrassment, humiliation, distress and a deprivation of his

constitutional rights.

                            VII.    COUNT FOUR – STATE LAW
                                     INDEMNIFICATION

        43.     Mr. Newman repeats and realleges all prior paragraphs herein and incorporates

them by reference under this paragraph.

        44.     That pursuant to Wis. Stats. § 895.46, the defendant, City of Milwaukee, is

obligated to pay any tort judgment for damages for which its employees are liable for acts

occurring within the scope of their employment.

        45.     That at all times material hereto, the defendants, Vagnini, Knight, Cline,

Dollhopf, Kozelek, Martinez and/or Flynn, committed the acts alleged herein under color of law

and within the scope of their employment with the defendant, City of Milwaukee.

        WHEREFORE, Mr. Newman requests judgment against the defendants, Vagnini, Knight,

Cline, Dollhopf, Kozelek, Martinez, Flynn and/or the City of Milwaukee, jointly and severally,

as follows:

        1.      For compensatory damages;

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       2.     For costs and disbursements in bringing this action; and

       3.     For such other and further relief as the court may deem just and equitable.

       FURTHERMORE, Mr. Newman requests judgment against the defendants, Vagnini,

Knight, Cline, Dollhopf, Kozelek and/or Martinez, for punitive damages.

       FURTHERMORE, Mr. Newman requests judgment against the defendant, City of

Milwaukee, for indemnification as to judgments entered against the defendants, Vagnini, Knight,

Cline, Dollhopf, Kozelek, Martinez and/or Flynn.

       FURTHERMORE, MR. NEWMAN HEREBY DEMANDS A TRIAL BY A JURY OF

TWELVE (12) ON ALL ISSUES SO TRIABLE.

       Dated at Milwaukee, Wisconsin, this 13th day of November, 2015.


                                    BORNSTEIN LAW OFFICES, S.C.

                                    s/ Ronald Bornstein________________________________
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